          Case 3:18-cv-30053-DJC Document 55 Filed 11/13/18 Page 1 of 4



                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


JACKIE LIGON, JOZELLE LIGON,
MICHAEL CINTRON
                  Plaintiffs
                                               C.A. NO.: 3:18-cv-30053
v.

CITY OF SPRINGFIELD, SPRINGFIELD
POLICE DEPARTMENT, COMMISSIONER
JOHN BARBIERI, OFFICER
DANIEL BILLINGSLEY, OFFICER PATRICK
HAGGERTY, TROOPER BRIAN PHILLIPS,
OFFICER MICHAEL RODRIGUEZ, OFFICER
PATRICK DENAULT, OFFICER IGOR
BASOVSKIY, OFFICER JOSEPH LEVESQUE,
OFFICER CHRISTIAN CICERO, OFFICER
ANTHONY CICERO, OFFICER SHAVONNE
LEWIS, OFFICER DARREN NGUYEN,
OFFICER JOHN WAJDULA, OFFICER
MELISSA RODRIGUEZ, OFFICER JEREMY
RIVAS, OFFICER DERRICK GENTRY-
MITCHELL, OFFICER NATHANIEL PEREZ,
OFFICER JAMES D’AMOUR, OFFICER JOSE
DIAZ, SGT. LOUIS BORTOLUCCI, LT.
JESSICA HENDERSON, LT. NORMAN
CHAREST, CPT. TRENT DUDA, SGT. JEFFREY
MARTUCCI, SGT. J. McCOY,
OFFICERS JOHN DOE 1 through 8,
HAMPDEN COUNTY D.A. ANTHONY
GULLINI, JENNIFER FITZGERALD, THOMAS
KENNEDY
                   Defendants

        AGREEMENT FOR JUDGMENT IN FAVOR OF DEFENDANTS, CITY OF

     SPRINGFIELD, SPRINGFIELD POLICE DEPARTMENT, COMMISSIONER JOHN

 BARBIERI, OFFICERS DANIEL BILLINGSLEY, PATRICK HAGGERTY, DARREN

       NGUYEN, IGOR BASOVSKIY, CHRISTIAN CICERO, ANTHONY CICERO,

     SHAVONNE LEWIS, JOHN WAJDULA, MELISSA RODRIGUEZ, JEREMY RIVAS,

     DERRICK GENTRY-MITCHELL, NATHANIEL PEREZ, JAMES D’AMOUR, JOSE

     DIAZ, MICHAEL RODRIGUEZ, PATRCIK DENAULT, JOSEPH LEVESQUE, SGT.
          Case 3:18-cv-30053-DJC Document 55 Filed 11/13/18 Page 2 of 4



 LOUIS BORTOLUCCI, LT. JESSICA HENDERSON, LT. NORMAN CHAREST AND

  CPT. TRENT DUDA, SGT. JEFFREY MARTUCCI, SGT. J. MCCOY and TROOPER

                                       BRIAN PHILLIPS,



       Pursuant to Federal Rules of Civil Procedure 54 and 58, the Plaintiff, Michael Cintron, by

and through his undersigned counsel, hereby stipulate and agree that Final Judgment shall enter

in favor of the above-named Defendants as to all claims against them with prejudice and without

cost, waiving all rights of appeal and/or rights to petition for attorneys' fees and/or expenses.
        Case 3:18-cv-30053-DJC Document 55 Filed 11/13/18 Page 3 of 4



                                         Respectfully submitted,
                                         The Defendants,

                                         City of Springfield, Springfield Police
                                         Department, Officer Daniel Billingsley,
                                         Officer Anthony Cicero, Officer Christian
                                         Cicero, Officer Igor Basovskiy,
                                         Officer Darren Nguyen, Officer Shavonne
                                         Lewis, Officer Melissa Rodriguez,
                                         Officer James D’Amour, Officer Jeremy
                                         Rivas, Officer Derrick Gentry-Mitchell,
                                         Officer Jose Diaz, Officer Nathaniel Perez,
                                         Officer John Wajdula, Patrick Haggerty,
                                         Michael Rodriguez, Patrick Denault, Joseph
                                         Levesque, Sgt. Louis Bortolucci, Lt. Jessica
                                         Henderson, Lt. Norman Charest, Cpt. Trent
                                         Duda, Commissioner John Barbieri, Sgt.
                                         Jeffrey Martucci, Sgt. J. McCoy, Trooper
                                         Brian Phillilps

                                         By their attorneys,

Dated: November 13, 2018                  /s/ Kathleen E. Sheehan
                                         Kathleeen E. Sheehan, Esq., BBO#456910
                                         Lisa C. deSousa, Esq. BBO#546115
                                         Edward M. Pikula, Esq. BBO#399770
                                         City of Springfield Law Department
                                         1600 East Columbus Ave., 2nd Floor
                                         Springfield, MA 01103
                                         Phone: (413) 787-6654
                                         Fax: (413) 750-2363
                                         ksheehan@springfieldcityhall.com
                                         ldesousa@springfieldcityhall.com
                                         epikula@springfieldcityhall.com
          Case 3:18-cv-30053-DJC Document 55 Filed 11/13/18 Page 4 of 4



                                                      Respectfully submitted,
                                                      The Plaintiff, Michael Cintron,
                                                      By his attorney,


Dated: November 13, 2018                               /s/ Joe A. Smith, III
                                                      Joe A. Smith, Esq., BBO#680310
                                                      20 Maple Street, 2nd Fl.
                                                      Springfield, MA 01105
                                                      Phone: (413) 788-0040
                                                      smithjaesq@aol.com

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the within Agreement for Judgment

was this day served upon Plaintiff via the Federal Court’s ECF Notice and delivery System. I am

not aware of any party who is a non-registered participant, and therefore electronic filing is the

sole means of service of this document.


SIGNED under the pains and penalties of perjury.


Dated: November 13, 2018                              /s/ Kathleen E. Sheehan
                                                      Kathleen E. Sheehan, Esq.
